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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,
      Plaintiff,
v.                                       Case No. 17-20595
                                         Honorable Victoria A. Roberts
YOUSEF RAMADAN,
      Defendant.
______________________________/


                   ORDER CHANGING CONDITION OF BOND
      On February 16, 2021, the Court held a status conference. Attending

were Douglas Salzenstein and Hank Moon for the Government and Andrew

Densemo for the Defendant.

      Based on the discussion held, the Court changes Mr. Ramadan’s

condition of bond from home incarceration to home detention.

      IT IS ORDERED.

                                         s/ Victoria A. Roberts
                                         Victoria A. Roberts
                                         United States District Court
Dated: 2/17/2021
